                   Case 1:24-mj-00371-MJS                  Document 1        Filed 12/02/24           Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of Columbia
                 United St.at.es of America                         )
                               V.                                   )
                                                                    )   Case: 1:24−mj−00371
                Walter Joseph Wentland                                  Assigned To : Sharbaugh, Matthew J.
                                                                    )
                   DOB:-                                            )   Assign. Date : 12/2/2024
                                                                    )   Description: COMPLAINT W/ARREST WARRANT
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant. in this case, state that the following is trne to the best of my knowledge and belief.
On or about the date(s) of                    January 6, 2021              in the county of __________ in the
                         in the Distiict of       Columbia      , the defendant(s) violated:
            Code Section                                                    Offense Description
        18 U.S.C. § 231(a)(3) - Civil Disorder,
        18 U.S.C. § 1752(a)(l) - Entering and Remaining in a Resti·icted Building or Grounds,
        18 U.S.C. § 1752(a)(2) - Disorderly and Disrnptive Conduct in a Restricted Building or Grounds,
        40 U.S.C. § 5104(e)(2)(D) - Disorderly and Disrnptive Conduct in a Capitol Building or Grounds,
        40 U.S.C. § 5104(e)(2)(G) - Parading, Demonsti·ating, or Picketing in a Capitol Building.


         This criminal complaint is based on these facts:
  See attached statement of facts.




         N Continued on the attached sheet.


                                                                                               Complainant's signature

                                                                                    ----, Special Agent
                                                                           �me and title
Attested to by the applicant in accordance with the requirements of Fed. R. C1im. P. 4.1
by telephone.
                                                                                                           Digitally signed by Matthew J.
                                                                                                           Sharbaugh
                                                                                                           Date: 2024.12.02 10:39:06 -05'00'
Date:            12/2/2024
                                                                                                 Judge's signature

City and state:                         Washington, D.C.                      Matthew J. Sharbaugh, U.S. Magisti·ate Judge
                                                                                               Printed name and title
